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                                 UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
   8                             WESTERN DIVISION, LOS ANGELES
  9 DENIECE WAIDHOFER,                              Case No. 2:20-cv-06979-FMO-AS
 10              Plaintiff,                         ORDER GRANTING
          v.                                        STIPULATION [50] TO EXTEND
 11                                                 TIME TO RESPOND TO INITIAL
    CLOUDFLARE, INC., a Delaware                    COMPLAINT BY NOT MORE
 12 corporation; BANGBROS, INC., a                  THAN 30 DAYS (L.R. 8-3)
    Florida corporation; MULTI MEDIA
 13 LLC, a California limited liability             Complaint served: August 24, 2020
    company; THOTHUB.TV; and
 14 JOHN DOES 1-21,                                 Current response date: September 24,
                                                    2020
 15              Defendants,
                                                    New response date: October 14, 2020
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 19              Upon review of the Stipulation to Extend Time to Respond to Complaint By
 20 Not More Than 30 Days, and good cause appearing therefor, it is hereby
 21 ORDERED that the deadline for Defendants BangBros, Inc. and Multi Media LLC
 22 to file their response to the Complaint is continued to October 14, 2020.
 23         IT IS SO ORDERED.
 24
       Dated: September 14, 2020                     ________/s/_____________________
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                                                     Hon. Fernando M. Olguin
 26                                                  United States District Judge
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